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                                                                                                             Meta Platforms, Inc. (fka Facebook, Inc.),
                                                                                                        14 Instagram, LLC, and WhatsApp LLC
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                                                                                                                                       UNITED STATES DISTRICT COURT
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                                                                                                                                                DISTRICT OF ARIZONA
                                                                                                        17
                                                                                                                                                          Case No. CV-20-470-PHX-GMS
                                                                                                        18 Meta Platforms, Inc., et al.,
                                                                                                                                                          PLAINTIFFS’ [PROPOSED] SUR-
                                                                                                        19                        Plaintiffs,             REPLY TO DEFENDANTS’ REPLY
                                                                                                                                                          IN SUPPORT OF BRIEF RE:
                                                                                                        20         v.                                     PLAINTIFFS’ REQUESTS FOR
                                                                                                                                                          ADDITIONAL DOMAIN NAME
                                                                                                        21 Namecheap, Inc., et al.,                       DATA AND PAYMENT
                                                                                                                                                          INFORMATION
                                                                                                        22                        Defendants.             (DOC. 178)
                                                                                                        23 AND RELATED COUNTERCLAIMS.
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                                                                                                         1          Defendants’ Reply in Support of Brief re: Plaintiffs’ Requests for Additional
                                                                                                         2 Domain Name Data and Payment Information (Doc. 178) inaccurately asserts that the
                                                                                                         3 information Plaintiffs seek regarding customer accounts associated with infringing domain
                                                                                                         4 names (including other domain names associated with those customer accounts, customer
                                                                                                         5 payment information, customer contact information, and infringement notices and
                                                                                                         6 complaints) is not relevant to this lawsuit because the “other domain names registered by
                                                                                                         7 the customers bears [sic] no possible relevance to proving Defendants’ bad faith.”
                                                                                                         8 (Doc. 178 at 1:27–28 (emphasis in original).)
                                                                                                         9          Defendants falsely assert that Plaintiffs have not alleged that Defendants themselves
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                                                                                                        10 registered domain names (as the registrant) when providing the WhoisGuard proxy service
                                                                                                        11 (FAC (Doc. 56) ¶¶ 13, 17–18) and hosting certain revenue-generating parking pages (id.
                                                                                                        12 ¶¶ 15–16, 110–16). Defendants also ignore that, under the Namecheap Registration
                                                                                                        13 Agreement’s incorporation of RAA § 3.7.7.3 (FAC ¶¶ 21–24, 78–91, 119–25),
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                                                                                                        14 Whoisguard agreed to accept liability for harm when it failed to disclose the identity and
                                                                                                        15 current contact information of Licensees within seven days of being provided reasonable
                                                                                                        16 evidence of actionable harm. Moreover, Defendants ignore the Court’s own recognition of
                                                                                                        17 these allegations and legal theories. (See Order (Doc. 52) at 1:27–2:1 (“In its proxy service,
                                                                                                        18 WhoisGuard registers Namecheap’s customers’ domain names in WhoisGuard’s name and
                                                                                                        19 licenses the domain names back to the customers.”); 5:7–8 (“Once a Namecheap customer
                                                                                                        20 elects to use WhoisGuard’s proxy service, WhoisGuard becomes the domain name
                                                                                                        21 registrant for that customer’s domain.”); 6:14–15 (“Plaintiffs allege that WhoisGuard is the
                                                                                                        22 WHOIS registrant for the Infringing Domain Names.”); 7:21–24 (“. . . the Registration
                                                                                                        23 Agreement plausibly incorporates Section 3.7.7.3 and WhoisGuard plausibly made itself
                                                                                                        24 liable pursuant to the section for the infringements of the Domain Name Licensees when it
                                                                                                        25 failed to disclose the identity of the Infringing Domain Name Licensees.”).
                                                                                                        26          Defendants advance these intentionally misleading arguments to suggest the
                                                                                                        27 BelgiumDomains and Transamerica cases are “distinguishable because they involved
                                                                                                        28 registrars who were themselves alleged to have selected and owned the infringing domain



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                                                                                                         1 names at issue. By contrast, here there are not allegations that Defendants selected or
                                                                                                         2 owned any of the disputed domain names.” (Doc. 178 at 2:9–16 (internal citations omitted);
                                                                                                         3 see also id. at 3:20–21 (referencing “domains not at issue in this litigation that are registered
                                                                                                         4 by those customers”).) But, as Defendants are well aware, Plaintiffs have alleged with
                                                                                                         5 factual support—as the Court has recognized—that Namecheap and Whoisguard did
                                                                                                         6 themselves register and own Infringing Domain Names. (FAC ¶¶ 13, 15–18, 110–16, Ex. 8
                                                                                                         7 (Doc. 56–2 at 197) (Namecheap website on benefits of WHOIS protection, explaining the
                                                                                                         8 “only potential drawback of domain privacy comes down to ownership. Technically the
                                                                                                         9 domain name registrant owns the website (in the eyes of ICANN), not you. In most cases,
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                                                                                                        10 this will never be an issue because it’s unlikely that your registrar is going to steal your
                                                                                                        11 domain.”); Doc. 52 at 1:27–2:1, 5:7–8.) Indeed, Exhibit 8 to the FAC demonstrates that
                                                                                                        12 prior to this lawsuit, Defendants readily admitted that they—not their customers—owned
                                                                                                        13 domain names utilizing the WhoisGuard service. (Id.)
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                                                                                                        14          Thus, contrary to Defendants’ arguments that these cases are distinguishable and
                                                                                                        15 this evidence is irrelevant, domain name registrant and ownership status evidence is
                                                                                                        16 directly relevant to Defendants’ liability. Defendants’ own status as a registrant goes to
                                                                                                        17 their own bad faith, and because Defendants have agreed to accept liability for the harm
                                                                                                        18 caused by the Infringing Domain Names under the terms of the Namecheap Registration
                                                                                                        19 Agreement, the bad faith of customers who registered multiple domain names that
                                                                                                        20 infringed on others’ trademarks (and Defendants’ knowledge thereof) is relevant to
                                                                                                        21 Defendants’ liability under the Anticybersquatting Consumer Protection Act. The
                                                                                                        22 requested customer information, therefore, is clearly discoverable and should be produced.
                                                                                                        23          Defendants now attempt to circumvent the consequences of their registering and
                                                                                                        24 owning domain names used to cause harm by arguing they did not “select and own” the
                                                                                                        25 domain names (Doc. 178 at 4:5–6, 14–16), but this sophistry attempts to shield Defendants’
                                                                                                        26 registrant activities by virtue of the fact that Namecheap is also a registrar. See Solid Host,
                                                                                                        27 NL v. Namecheap, Inc., 652 F. Supp. 2d 1092, 1105 (C.D. Cal. 2009) (“Nothing in
                                                                                                        28 Lockheed Martin II, however, suggests that a registrar is immune under the ACPA when it



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                                                                                                        1 acts other than as a registrar. Indeed, to the extent that NameCheap was the registrant of
                                                                                                        2 the domain name and ‘used’ the name, this section would support the imposition of liability
                                                                                                        3 on it, not a grant of immunity to it.”).
                                                                                                        4         Defendants seek to misdirect the Court as to the role they play in registering (as the
                                                                                                        5 registrant) Infringing Domain Names in order to conceal evidence of the extent of their
                                                                                                        6 customers’ and their own cybersquatting. Plaintiffs respectfully request that the Court grant
                                                                                                        7 their motion to compel.
                                                                                                        8 DATED: January 12, 2022                    SNELL & WILMER L.L.P.
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